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                                                      June 29, 2023

Chambers of Hon. Robert B. Kugler
United States District Court for the District of New Jersey
Mitchell H. Cohen Building & U.S. Courthouse
4th and Cooper Streets
Camden, New Jersey 08101

Special Master the Honorable Thomas Vanaskie
Stevens & Lee
1500 Market Street, East Tower
18th Floor
Philadelphia, PA 19103

      RE:     In re: Valsartan, Losartan, and Irbesartan Products Liability Litigation
              United States District Court for the District of New Jersey, Case No.: 1:19-md-2875

Dear Judge Kugler and Special Master Vanaskie:

        On behalf of Defendants Albertson’s LLC, CVS Pharmacy, Inc., Express Scripts, Inc., Humana
Pharmacy, Inc., Kroger Co., OptumRX, Rite Aid Corp., Walgreen Co., and Walmart Inc. (collectively,
the “Retail Pharmacy Defendants”), please find enclosed a proposed order regarding a proposed
discovery schedule for all losartan and irbesartan discovery and outstanding valsartan discovery,
directed to the Retail Pharmacy Defendants.

         As noted in the Proposed Order, the Retail Pharmacy Defendants submit this proposed schedule
without waiving any objections and without prejudice to their ability to seek relief from this schedule
if there are unforeseen difficulties or delays.

      Plaintiffs’ counsel has reviewed this letter and the proposed order and consents to this
submission.

         Thank you once again for your consideration of these issues.

                                               Respectfully submitted,


                                               Kara Kapke
